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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF FLORIDA

TALLAHASSEE DIVISION
AMANDA CIMILLO, et al.,
Plaintiffs,
Vs. CASE NO.: 4:16-cv-00584-RH-CAS
ROLLIN AUSTIN, et al.,
Defendants.
/

 

DEFENDANT FLORIDA DEPARTMENT OF CORRECTIONS’
MOTION FOR SUMMARY JUDGMENT

Defendant Florida Department of Corrections (“FDC”), through counsel and
pursuant to Rule 56(0) of the Federal Rules of Civil Procedure, moves for
summary judgment on Count V of Plaintiff’ s Third Amended Complaint
(“Complaint”), and states the following in support thereof:

I. INTRODUCTION

Plaintiff’ s sole claim against FDC is brought under Title ll of the ADA
(“ADA”), and the Rehabilitation Act (“RA”) (collectively “ADA/RA”). PlaintifF s
claims arise out of the death of Randall Jordan-Aparo (“Aparo”) on September l9,
2010 While incarcerated at Franklin Correctional lnstitution (“Franklin CI”) in

Carrabelle, Florida.

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A. STATEMENT OF UNDISPUTED FACTS

INTRODUCTION AND MEDICAL HISTORY

Aparo was incarcerated within FDC from November 2009 until his death on
September l9, 2010. See Composite Exhibit l, Aparo’s FDC medical records
(Subset), at Bate Nos. 00009; 00003.] 2Aparo had an inherited genetic disorder or
syndrome known as Osler Weber Rendu (“OWR”) (also known as Hereditary
Hemorrhagic Telangiectasia or “I-lHT”) which causes malformations in blood
Vessels, and manifests in telangiectasias (spots) on the skin primarily on the
fingers, and in the nose and mouth area which are prone to bleed more if stuck or
cut. The malformations in the blood Vessels can also result in gastro-intestinal
bleeding.3

Aparo’s history of OWR was charted during his “Initial Physical Exam” on

November l7, 2009 at FDC’s Reception and Medical Center (RMC) in Lake

 

lThe 2009-2010 medical records also included information from Aparo’s
incarceration in 2007.

2 References to all exhibits except deposition transcripts are the Bate stamp
numbers located at the lower right corner of the document.

3 See https://medlineplus.goV/ency/article/OOOS37.htmhttps://medlineplus.gov/
cncy/articlc/000837.htm. “Hereditary hemorrhagic telangiectasia (HHT) is an
inherited disorder of the blood Vessels that can cause excessive bleeding.” Persons
with OWlUHHT can also experience anemia caused by low iron. Id.

 

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Butler, FL (as it had been during his 2007 incarceration). Id, 00027-30, 00016.

Aparo was transferred from Rl\/IC to Jefferson Cl on or about December l,
2009 where he was confined until May 21, 2010. Id, at 00123-24, 00106-08.
During a medical appointment at Jefferson Cl on February 17, 2010, Aparo told
the nurse that he had a “rare bleeding disorder” and needed a “shaving pass” (i.e. to
use clippers instead of a razor), and he was issued this pass. Ia’, at 00118. At
Jefferson CI Aparo worked on the Public Work Squad which went outside the
institution and performed various types of work in the City of Monticello. See
Exhibit 2, Deposition of Correctional Officer Dennis Curry, at 20-21, 29, 63-64,
100-111; see also Exhibit 3, Deposition of lnmate William Aron, at 56-57. To be
eligible for the Public Work Squad, inmates were evaluated based on “outside
influences, time remaining to serve, health concems, county of conviction and/or
location of the victim.” See Exhibit 4, Declaration of Rusty McLaughlin, FDC
Chief of Classification Management.

On April 18, 2010 Aparo presented to medical at Jefferson CI with a one-
half centimeter cut on his left thumb and told the nurse it happened while he was
“playing ball during rec,” and he also informed her of his OWR. See Composite
Exhibit l, at 00111-113. The nurse cleaned his thumb with an antibiotic cleanser

and stopped the bleeding. ]d, at 00112.

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Aparo was transferred from Jefferson CI to Wakulla Cl on May 21, 2010,
and a “Pre-Special Housing Health Assessment” completed on that date states that
he had a “blood disorder + Osler Webber [sic]-Rendu.” Id, at 00103. Aparo was
next transferred to the Northwest Florida Reception Center for a brief stay, and
then to the Bay City Work Camp (BCWC) in Apalachicola, Florida, which was the
work camp for Franklin Cl. Ia’, at 00102. Aparo was seen by ARNP Patricia
Lemon at BCWC on June ll, 2010 for a “Review and Clinic Appointment,” and
she noted his OWR and the presence of a “few telangiectasias” on his lips and
tongue, 4 but added that he was having “no problems” with them, and “knows how
to handle them.” Id, at 00101. The “A” note reflects that his OWR was “stable,
[with] no active bleeding.” ]d. ARNP Lemon told Aparo to report to sick call if he
had any problems with bleeding, and that if he had any She would “pull [his] work
camp status.” Id. She also completed a “Health Services Profile” on June ll,
2010 and assigned Aparo a medical grade “1”, and wrote on the form, “Ok work
camp/Ok work release.” Id, 00024.

Aparo was next seen by Nurse Hardy on June 22, 2010 and reported that he
had “stuck his finger when leaning on [a] fence” the day before, and she noted that

he “has a bleeding disorder.” Id, at 00099 (“Abrasion/Laceration Assessment”).

4 A telangiectasia “is the dilation of small superficial vessels and capillaries that
cause numerous flat red marks on the hands, face and tongue.” See https://

medlineplus.gov/ency/imagepages/19509.htm (January 16, 2016).
4

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The cut was the size of a “pinhead” on Aparo’s right middle fingertip. ld. Nurse
Hardy cleaned his finger with Betadine and water, gave him “band aids and
gauze”, and referred him to the “clinician” for the following morning. Ia’.

ARNP Lemon saw him the next day on June 23, 2010 and noted that he had
telangiectasias “all over his fingers and mouth . . . [and was] prone to excessive
bleeding.” Id, at 00098. ANRP Lemon concluded that the risk of bleeding was too
great to have him stay at the Work Camp and ordered him to be transferred to
Franklin Cl), and also gave him a “pass” stating that he could not work with
“sharps” or machinery. Id. ARNP Lemon testified in deposition that she moved
him to the main camp at Franklin Cl because of the distance (30 miles) between
the two facilities, and because there were no medical personnel at BCWC. See
Exhibit 5 , Deposition of ARNP Lemon, at 53. In a Health Services Profile
completed on June 23, 2010, ARNP Lemon wrote, “No work ~ No sharps, no
machinery (Ok for him to work elsewhere - he likj to work! !”). 5 See Composite
Exhibit l, at 00023 (emphasis original). ARNP Lemon also ordered labs for “iron
studies” and “serum ferritin levels” which she explained to Aparo, and blood was

drawn on June 29, 2010 for these labs. Id, at 00098; 00095.

5 ARNP Lemon changed his medical grade back to “l\/l:2” on June 29, 2010 based

on this bleeding event at the BCWC. See Composite Exhibit 1, at 00022.
5

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On June 30, 2010 Aparo declared a medical emergency and presented to
medical with bleeding from his left index finger which was wrapped in “paper
towels”, and his left hand was “covered in blood.” Id, at 00094. He was seen by
Nurse Goodwin who applied pressure to the finger stopping the bleeding, and gave
him a pass to come to medical as necessary for bleeding. Ia’. The results of the
blood labs ordered by ARNP Lemon were reported on June 30, 2010 showing that
Aparo’s iron was low, and when ARNP Lemon saw him on July 9, 2010 she noted
his iron deficiency which she diagnosed as “secondary to Rendu-Osler-Webber
[sic] syndrome”, and prescribed iron (“FES04 325 MG l PO BID”). Id, at 00138,
00091; 00131 (Physician’s Order Sheet). In the “S” portion of the SOAPE note on
July 9, 2010 ARNP Lemon wrote,

Has Rendu-Webber-Osler [sic] - a malformation of the
tiny blood vessels producing scattered angiomas [sic] on
lips, fingertips and inside bowels. This can lead to prolific

bleeding when the lesions open. He does not have a
bleeding Order per se.

Id, 00091 (emphasis added).

On July 21, 2010 Aparo declared a medical emergency stating that he was
“urinating blood” which was reported to ARNP Lemon who gave a telephone
order for a “urine dip.” Id, at 00085. The urine sample was “very bloody. .. [and]

when [Aparo] came in to [triage] he had alot of blood in his mouth and had to spit

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it into a paper towel.” Ia'. Because of the blood in his mouth, ARNP Lemon

ordered an “observed urine specimen” to be “obtained by security.” Id. The labs

for the urine showed “abnormal results with protein, nitrates and blood . . . urine

clear in appearance,” and Aparo was “placed in observation status in [a] cell in

infirmary.” Id. ARNP Lemon saw Aparo later on July 21, 2010 and noted his

history of

hematuria that morning, and also the ‘wad’ of blood in
his mouth . . . [and a] question as to whether or not he
spit blood into the sample of urine, as the second sample
approx. 40 min later was clear with microscopic blood...
[and that he] is now being treated for a UTI.

Id, at 00082. ARNP Lemon also noted Aparo’s history of being transferred to

Franklin Cl from the work camp, and that a

review of the entire medical record shows the inmate
did not have problems with bleeding until 6/22/10 and
has been Seen a total of 5 times for bleeding since . . .
[and] on two occasions nurses have seen him ‘picking’
at the telangiectasias on his fingers which caused an
increase in the bleeding. Either the inmate is truely [sic]
having increased bleeding problems or he is finding out
he can manipulate staff with the bleeding. In any event,
l will continue to monitor this inmate and possibly send
him to Butler [Reception and Medical Center] in the near
future.

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Id.6 ARNP Lemon ordered Cipro for a possible UTl, and advised Aparo that “if
there is a manipulation game occurring, and I can confirm it, I will write a
[Disciplinary Report] if the behavior continues.” Id, at 00082-83.

The next time Aparo presented to medical was on September 13, 2010 when
he was seen ARNP Lemon for a “follow-up” appointment, and in the “S” note she
wrote that Aparo has had

no further events with bleeding problems... [that he] was

previously warned to quite [sic] picking at his tangiomas/

angiomas [sic] to cause bleeding episodes and visits to med-

ical. He hasn’t had problems since 07/21/10. He feels good.

No C/OS [complaints].
Id, at 00079. ARNP Lemon also charted that he had no “bleeding sites” but there
were telangiectasias on his fingers and lips, and that his OWR was “stable”. Id.

Two days later on September 15, 2010 Aparo declared a medical emergency
and was seen in medical by Nurse Housholder complaining of back pain, and
reported to her that he was “playing basketball and fell and my back has been
hurting since.” Id, 00078.

Aparo was next seen in medical on September 17, 2010 after declaring a

medical emergency complaining of back pain, and told Nurse Goodwin that it

happened when he “fell playing basketball,” and that it “hurts down his left leg.”

66Nurse Goodwin has testified that she saw Aparo on June 30, 2010 for bleeding on
his left index finger, and observed him “chewing” on his finger causing it to bleed.

See Exhibit 6, Deposition of Amy Goodwin, at 59-60.
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Ia’, at 00074. Later on September 17, 2010 Defendant Nurse Greene saw Aparo
and completed a “Back Pain Assessment” form writing that the “onset and duration
[was] 2-3 days” when he was “playing basketball [and] fell last week.” Ia', at
00076. Nurse Greene charted that Aparo had pain from his “[left] flank to left leg,
foot, [left] arm, [left] knee,” and that his “head hurts”. ]ol.

On September 18, 2010 at 12:10a (0010) Aparo declared a medical
emergency and was brought to the infirmary by wheelchair, and told Nurse Greene
that, “I can’t breathe nowl can’t sleep.” ]a’, at 00071. An EKG was done and
Nurse Greene wrote, “poss[ible] dehydration”, and called the ‘on-call MD - hold
in infirmary.”’ Ia’. At 0020 Nurse Greene made a “call to Dr. Arunakul . . . and
orders [were] given.” Ia’. At 12:3 Oa (0030) Nurse Greene wrote that she made two
unsuccessful attempts to place an IV catheter and noted that Aparo was “not
cooperative [and was] moving during attempts.” Ia’., see also Doc. 176-8, at
paragraph ll (Affidavit by Defendant Greene filed with her Motion for Summary
Judgment). At 4:00a Defendant Nurse Lucy Franklin made an incidental entry
writing that, “inmate lying bed - profanity saying l am going to sue you’re f"‘*king
assess. l need to go to the hospital and y’all won’t send me.” Ia’. ln the “O” note
Nurse Greene wrote that Aparo was “being very disrespectful to this nurse,” and

that an officer “was present when this happened - call to Captain.” ]a’. Nurse

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Greene wrote in the “E” note that she ‘instructed [Aparo] that he will not be going
to hospital / Dr. did not order this.” Icl.

A Pre-Special Housing Health Assessment was completed by Nurse Franklin
on September 18, 2010 at 4:36a, and in a box on the form for noting any
“threatening” behavior, wrote that Aparo said, “l am going to sue your f"‘*king
asses. I need to go to the hospital.” ]a’, at 00069. Nurse Franklin charted at 4:36a
that Aparo was “released to security for confinement.” Icl, at 00068.

THE USE OF CHEMICAL AGENTS ON SEPTEMBER 19, 2010

At approximately 10:49a on September 19, 2010 Aparo began engaging in
disruptive behavior and Defendant Sergeant Chad Gillikin “attempted to counsel
with [him] . . . due [sic] his disorderly actions,” but Aparo “refused all counseling
and orders.” See Exhibit 7, Sgt. Gillikin’s lncident Report, at 000664. Sgt.
Gillikin contacted Defendant Rollin Austin (a Lieutenant at the time and the
Officer-in-Charge on the shift) who came to the confinement wing at approxi-
mately 10:59a and counseled with Aparo to attempt to get him to cease his
behavior, however he was unsuccessful See Exhibit 8, Defendant Sgt. Hamm’s
lncident Report, at 000660; see also Exhibit 9, Fixed-Wing video, at 11:08a.
Austin initiated the chemical agent protocol which was recorded on the hand-held

video camera (HH), and described Aparo’s conduct, his attempts to get Aparo to

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cease his behavior, that he had contacted medical to determine whether Aparo had
any condition that would be exacerbated by the use of chemical agents and was
told there none, and also contacted the Duty Warden and was given authorization
to use chemical agents. See Exhibit 10, Hand-Held video, at ll:24a.

FDC security officers do not have knowledge of the medical condition or
history of inmates, and the individual security Defendants in this action did not
have knowledge of Aparo’s medical condition or history , including his OWR, on
September 18-19, 2010 (or at any other time during his incarceration). See Exhibit
ll, FDC Rule 33.401.701; see also Exhibit 12, Deposition of Defendant J ames
Hamm, at 70; and Exhibit 13, Deposition of Defendant Chad Gillikin, at 70, 159.

Defendant Austin went to Aparo’s cell at approximately 11:24a accompany-
ied by Defendant Hamm (operating the HH video camera), and Austin ordered
Aparo to cease his disruptive behavior or he would be sprayed with chemical
agents, and Aparo complied with this order and he was not sprayed. See Exhibits
10 and 9 (HH, at ll:24a - ll:25a) (FW, at 11:15a- 11:16a). Austin then informed
Aparo that if he continued or resumed his disorderly conduct after Austin and
Hamm left the wing, Austin would return and chemical agents would be applied on

him without further warning. Ia’; see also Exhibit 14, Rule 33.602.210 (8)(n)(2)(e,

g)-

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At approximately ll:38a, Defendant Gillikin notified Austin that Aparo had
resumed his disorderly conduct, and Austin returned to his cell with Defendant
Hamm who sprayed three one-second bursts of OC through the food-flap of
Aparo’s cell door in accordance with FDC policy. See Exhibit 9, at 11:49, 11:56,
and 1202. After this first spraying, Aparo resumed his disorderly conduct two
more times and was sprayed with OC on the second application and CS on the
third. Icl; see also Exhibit 14.

Aparo was handcuffed and removed from his cell at 12:l7p, and escorted by
Defendants COs Spangler and Martina to the shower walking under his own
power. See Exhibit lO, at 12:l7p -12118p and Exhibit 9, at l2:08p - l2:09p.

Aparo showered from approximately 12:18p to l2:25p, and remained standing the
entire time except for brief periods when he can be seen leaning against the shower
wall or holding onto the shower cell bars. Ia', at l2:25p. At approximately l2:25p,
Aparo indicated to Austin that he was finished showering, and began to dry-off.
Ia’, at 12:25. After drying-off, Aparo was given clean boxer shorts and a T-shirt,
was handcuffed and removed from his cell, and escorted by Defendants Spangler
and Martina to the medical room. Ia’, at l2:29p. The HH video shows Aparo

initially struggling to walk from the shower area and leaned forward at which point

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Defendants Spangler and Martina assisted him, and he then walked upright for the
remainder of the walk to the medical room. Ia’, at 12:30p.

Aparo was seen by Defendant Nurse Riley in the medical room arriving at
12:3 lp for a post-use of force evaluation, and she charted that Aparo complained
of “back pain from previous injury,” but was “unable to get a blood pressure
reading with either the manual or automatic cuffs.” See Composite Exhibit l at
0001; see also Exhibit lO, at l2:3l-l2:40. Nurse Riley also noted that Aparo had
“right lower lobe wheezing...bruising,” and a history of OWR. Ia’, at 0001. On the
“Diagram of lnjury” accompanying the ER Record, Nurse Riley noted “mottling . .
. on upper posterior back” [which is depicted by hand-drawn dots on the far right
body outline]. Icl, at 0002. Nurse Riley also wrote “skin intack [sic],” and then
“Breaths even” (the word “even” has a line striking though it). Ia'.

At approximately 1:l3p, Riley went to Aparo’s cell accompanied by Nurse
Franklin to attempt again to take Aparo’s blood pressure by passing a part of the
blood pressure device through the food-flap, however he handed it back through
the food-flap. See Exhibit 15, Deposition of Ola l\/Ielissa Riley, at 22, 70-71.
Riley then asked the security officers to bring him out of the cell to take him to the
medical room where she could try again to take his blood pressure, but Aparo

refused to be handcuffed and he could not be removed from his cell, and he also

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refused to sign a “Refusal” form. ]a’, at 20-25; see also Composite Exhibit 1, at
00068; and Exhibit 9, 1:13-1:31p. Nurse Riley returned to Aparo’s cell at
approximately 3 :25p to attempt to take his blood pressure, but he again refused.
See Exhibit 16, FDLE Report TL-37-0003 at 002111-12; 002124-25. Nurse Riley
also recalls talking to Aparo when she went to his cell at 3:25p. Ia’, at 002125.

After Aparo was returned to his cell at l2:33p, he was not taken out of his
cell again, and no one entered his cell until he was found unresponsive by CO
Foxworth at approximately 6:14p, after which medical was contacted and Nurses
Riley and Greene went to his cell. `See Exhibit 9. Approximately 40 minutes
earlier at 5 :30p, Officer Foxworth had stopped at Aparo’s cell and found him lying
on the floor of his cell, and told him “to get off the floor, at which time inmate
[Aparo] responded by advising that it was ‘cool down there. . .’ [and] Foxworth
advised he then asked the inmate if he was ‘ok,’ at which time [Aparo] responded
with a ‘thumbs up’ from his left hand.” See Exhibit 16, at 002117-18.
APARO’S ALLEGED DISABILITY

Plaintiff claims that Aparo was disabled because of his OWR. See
Plaintiff s Third Amended Complaint, at 1112. Plaintiff alleges that OWR is a
“blood disorder”, and it is described as such in his FDC medical records.

Medically, however, OWR is an “inherited disorder of the blood vessels that can

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cause excessive bleeding.”7 OWR is often incorrectly compared to hemophilia
which is a “blood disorder that affects the ability of the blood to clot properly.”8

Aparo’s medical records show that all of the bleeding episodes he
experienced during his FDC incarceration in 2010 (there were none in 2009) were
promptly and successfully treated, and he was never denied treatment for any of
these bleeding episodes The only other OWR related symptom Aparo
experienced during his FDC was anemia resulting in low iron for which he was
given iron pills.

The FDC policy and procedure for an inmate to request an accommodation
in 2009-2010 was set forth in Rule 33-210.201 (“ADA Provisions for lnmates”),
which stated in pertinent part that, “lnmates shall be provided the opportunity to
identify the nature of any disability and to request an accommodation or auxiliary
aids.” See Exhibit 17, Rule 33-210.201(1). ln subsection (3)(a) it states that the

“determination of whether an inmate is disabled shall be made by department

medical staff, either at reception or at the institution where the inmate is assigned,

 

7 See Medlin Plus article on HHH at https://medlineplus.gov/encv/article/
000837.htm.

8 See https://www.mavoclinic.o_rg/diseases-conditions/hemophilia/diagnosis-
treatment/dl'c*EOB73333 (hemophilia is defined as “a rare disorder in which the
blood aloes not clot normally lt is usually inherited. Hemophilia usually occurs in
males.” (Emphasis added).

 

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based upon the inmate’s record of impairment or some other qualified evaluation
of the inmate’s impairment.” Ia’. The rule further provided that, “All department
and privately operated facilities shall furnish to any inmate, upon request, a
Reasonable Modification or Accommodation Request, Form DC2-530.” Ia’,
subsection (3)(b).

There are no entries in Aparo’s medical or classification records showing
that he ever told anyone that he had a disability, or that he ever requested an
accommodation for his OWR (or for any other reason). The ADA Coordinator at
FDC’s Central Office, Evelynn Garst, has searched the records maintained in her
office, and attests that no requests for accommodation were ever submitted by
Aparo. See Exhibit 18, Affidavit of Lynn Garst. There is also nothing in Aparo’s
medical or classification records which show or suggest that any FDC employees
ever perceived Aparo as being “disabled”, or as having a “disability” because of
his OWR (or for other reason). ]a’.

Aparo worked on a Public Work Squad at Jefferson Cl from December 2009
to May 21, 2010, and was ultimately transferred in June 2010 to the BCWC, the
work camp for Franklin Cl. See Exhibit 19, Aparo’s Administrative File, at
001849. Aparo was transferred from BCWC to Franklin Cl by ARNP Lemon on

June 23, 2010 after he stuck his finger causing bleeding, however the decision to

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transfer Aparo was based on ARNP Lemon’s concern with the distance between
BCWC and Franklin Cl, and the fact that there were no medical personnel at
BCWC-not because of his OWR or any perceived disability based on his OWR.
See Exhibit 5, at 53-54. ARNP Lemon emphasized in her note that Aparo “liked”
to work_and noted only that he should not work with sharp tools or machinery.
Ia’, at 55.

Aparo’s medical records show that his OWR and each bleeding episode, and
other symptoms (e.g., anemia), were treated by medical personnel, and he was
never denied access to medical because of his OWR.

In addition to working on a Public Work Squad and a Work Camp during his
incarceration, Aparo’s records show that he played basketball regularly (including
on September 15, 2010_four days before his death). See Composite Exhibit l, at
00074, 00076, and 00078; see also Exhibit 16, at 002201-03.

There are no records which show or suggest that Aparo was limited
physically in any way, and or that he was unable to perform any of the essential
activities of daily living.

WHEN PLAINTIFF LEARNED OF APARO’S DEATH

Plaintiff attests in her answers to FDC’s interrogatories that she does not

“recall the specific date” she learned of Aparo’s death, but does

remember searching the lnternet to confirm that he was to
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be released because l remember seeing that his anticipa-
ted release date was on September 21, 2010, or somewhere
around that time...When l searched the internet to confirm
his release date, l discovered he was dead. l searched prob-
ably within a few days after his death, but l don’t recall the
specific day.

See Exhibit 20, Plaintiff’ s Answer to lnterrogatory 15 of FDC’s First

Interrogatories at 027541.

After learning of Aparo’s death, Plaintif “called the Department of
Corrections in Tallahassee multiple times,” and “was told that he died of natural
causes which [she] now believe[s] to be false.” Ia’. Plaintiff also received a copy
of Aparo’s death certificate from Aparo’s father, Tom Aparo, and “saw what was
listed on the death certificate for his cause of death, but [she] didn’t really know
what the multiple causes of death meant.” Ia’., at 027541-42.9 Plaintiff further
attests that she “retained attorneys” after reading a Miami Herald article but does
not give a date. Icl., at 027542. Plaintiff also does not describe or explain in her

sworn interrogatory answers what steps or actions she took to obtain more

information about Aparo’s death after speaking with someone at FDC, or after

 

9 District Two Associate Medical Examiner Dr. Lisa Flannagan concluded that the
cause of Aparo’s death was from, “Complications of multiple cardiac and
pulmonary bacterial abscesses.” See Exhibit 24, Autopsy Report of Dr. Flannagan
dated November 16, 2010, at 001124.

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receiving a copy of the Death Certificate from Tom Aparo, before she read the
Miami Herald article.

The facts show that Tom Aparo called FDLE Special Agent Michael
DeVaney at least two times during the first phase of FDLE’s investigation
(September 19, 2010 to July 12, 2012), however SA DeVaney could not disclose
information to him because it was still an active investigation See Exhibit 21,
Deposition of SA DeVaney, at 231-33,]0 The evidence also shows that Mr. Aparo
called and spoke with Dr. Flannagan on January 21, 2011, and she told him what
caused his son’s death. See Exhibit 22, Telephone message from Tom Aparo; see
also Exhibit 23, Deposition of Dr. Flannagan, at 63-65. There are no records
showing that Plaintiff ever contacted FDLE or the Medical Examiner’s Office at
any time after learning of Aparo’s death, or that she took any additional steps to
obtain information or records from FDC after her initial call. lt is unknown when
Plaintiff first contacted an attorney, but it is known that her attorney in this case,
Steven Andrews, sent a notice of claim letter to FDC and the Department of
Financial Services dated September 2, 2014 in which he identified FDC and forty-
seven current and former individual FDC employees against whom claims would

be filed. See Exhibit 25. This letter also states that Plaintiff would be filing a

 

'OFDLE began its investigation of Aparo’s death on September 19, 2010 (the date
he died) and closed it on July 6, 2012, and then reopened it on September 20, 2013

based on purportedly new information See Exhibit 16, at 002171-73; 002179.
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complaint on or before September 18, 2014 however her complaint was not filed
until September 19, 2016.
FDLE INVESTIGATION

FDLE commenced its criminal investigation within hours of Aparo’s death
on September 19, 2010 pursuant to a Memorandum of Understanding (“MOU”)
between FDC and FDLE, and SA DeVaney was the lead FDLE agent on the
investigation See Exhibit 26, MOU; see also Exhibit 21, at 17-19. SA DeVaney
explained that it was a criminal investigation, and that FDLE took control over “all
aspects” of the investigation ]cl, at 24-25.

After FDLE Crime Scene analysts completed their inspection of Aparo’s
body and the cell, the body was transported by funeral home employees to the
Medical Examiner’s Office in Tallahassee for an autopsy to be done the next by
Associate Medical Examiner Dr. Lisa Flannagan See Exhibit 16, at 002120-23;
see also Exhibit 24, Autopsy Report.

At the conclusion of the first phase of the investigation, SA DeVaney found
no violations of policy or procedure by FDC security officers on the administration
of chemical agents on Aparo on September l9, 2010. See Exhibit 21, at 24. SA
DeVaney also testified that he relied on the autopsy findings by Dr. Flannagan’s as

to the cause of death (i.e., complications from bacterial abscesses in his heart and

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lungs), and the fact that there was no evidence of any trauma to Aparo’s body. See
Exhibit 16, at 002153-54. Although the formal FDLE lnvestigative Report was not
issued until July 12, 2012, SA DeVaney explained that he considered his investiga-
tion complete on April 28, 2011, based on the decision by the State Attorney’s
Office not to pursue any criminal charges. See Exhibit 21, at 13-16; see also
Exhibit 16, at 002169.

When the investigation was initially closed on July 12, 2012, the Report and
the records collected during the investigation would have become public records,
and would have remained public records until the investigation was reopened on
September 20, 2013. See Exhibit 21, at 16, 105-06, and 112-113; see also Exhibit
16, at 002179.

FDLE’s investigation was reopened on September 20, 2013 based on
information provided to SA DeVaney by an inspector with FDC’s Office of
lnspector General, obtained during interviews with inmates in an unrelated
investigation who were housed in the confinement wing at Franklin Cl on
September 19, 2010, and had information about Aparo’s death. See Exhibit 21, at
82-83. SA DeVaney was joined by FDC lnspectors and the FBI during this second
phase of the investigation Icl, at 28. After approximately three more years investi-

gating Aparo’s death, SA DeVaney concluded that this additional “investigative

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activity did not result in any significant information different than what was
revealed during the initial investigation during 2010-2012.” See Exhibit 16, at
002245-47. By letter dated November l, 2016, the United States Attorney’s Office
declined prosecution, stating, “There is insufficient evidence to prove a violation of
federal statutes beyond a reasonable doubt.” See Exhibit 27.

THE FINDINGS AND CONCLUSIONS OF DR. FLANNAGAN

Based on the physical autopsy and findings from the microscopic examina-
tion of tissues, Dr. Flannagan concluded that Aparo died from, “complications of
multiple cardiac and pulmonary bacterial abscesses.” See Exhibit 24, Autopsy
Report, at 002256; see also Exhibit 23, at 59. Dr. Flannagan testified that Aparo’s
death was not caused (or contributed to) by his OWR, or by physical trauma to his
body, or from exposure to chemical agents based on the absence of any chemical
agents on his lips or tongue, in his throat, larynx, esophagus, or trachea) Ia’, at 59-
60.

In her internal examination of the body, Dr. Flannagan noted that the
“posterior neck show[ed] a mild to moderate amount of hemorrhage in the
musculature over the occipital region.” See Exhibit 24, at 002259. However, on
microscopic examination of this area Dr. Flannagan wrote that, “Posterior Neck

(L) Skele-tal muscle with intramuscular, perineural and intraneural acute

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hemorrhage. No associated inflammatory cell infiltrate is noted.” Icl, at 002261.
Dr. Flannagan concluded that these findings in Aparo’s posterior neck were not
caused by any trauma to his neck, and specifically no external trauma, and
concluded that Aparo did not suffer any physical trauma to his body prior to his
death which caused or contributed to his death. See Exhibit 23, at 52.

II. MEMORANDUM OF LAW AND ARGUMENT

A. SUMMARY JUDGMENT STANDARD
A motion for summary judgment should be granted only when the “movant

shows that there is no genuine dispute as to any material fact and the movant is
entitled to judgment as a matter of law.” See Rule 56(a), Federal Rules of Civil
Procedure. ln order to determine whether the moving party is entitled to summary
judgment, the court reviews the record in the light most favorable to the non-
moving party and draws all justifiable inferences against the movant. See Stephens
v. Der`ovanni, 852 F.3d 1298, 1313 (l lth Cir. 2017); see also Fils v. City of
Aventura, 647 F.3d 1272, 1287 (1 lth Cir. 2011). Yet, “[T]aking the facts in the
light most favorable to Plaintiff does not, however require that [the court] presume
the existence of a genuine dispute of fact that must go to trial; ‘the issue of fact
must be genuine,’ which means that ‘[w]hen the moving party has carried its

burden under Rule 56(c), its opponent must do more than simply show that there is

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some metaphysical doubt as to the material facts.”’ Thomas v. City of
Jacksonville, 2018 WL 1907146 *2 (11th Cir., April 23, 2018) (quoting Matushz`ta
Elec. ]na’us. Co., Lta’. v. Zem`th Raa'l`o Corp., 475 U.S. 574, 586 (1986). The well-
established law also requires the non-moving party to submit more than a “mere
scintilla of evidence to defeat a motion for summary judgment.” See Kesinger ex
rel. Esl‘ate ofKesl`nger v. Herrington, 381 F.3d 1243, 1247 (l lth Cir. 2004).
Further, the non-moving party “must set forth specific facts showing that there is a
genuine issue for trial,” and show that there is sufficient evidence such that a jury
could reasonably find for that party. Walker v. Darby, 911 F.2d, 1573, 1576-77
(11th Cir. 1990) (citing Anolerson v. Lil)erty Lobby, 477 U.S. 242, 106 S.Ct. 2505,
2512, 91 L.Ed.2d 202 (1986)). Nor is this Court is required to accept any facts
“blatantly contradicted by the record, so that no reasonable jury could believe
[them].” Scott v. Harris, 550 U.S. 372, 380 (2007).

B. STANDARD FOR STATING AND PROVING A CLAIM
UNDER TITLE II OF THE ADA AND UNDER THE RA

“To state a claim under Title ll of the ADA, a plaintiff must prove (1) that he
is a qualified individual with a disability; (2) that he was either excluded from
participation in or denied the benefits of a public entity’s services, programs, or
activities, or was otherwise discriminated against by the public entity; and (3) that

the exclusion, denial of benefit, or discrimination was by reason of the plaintiffs

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disability.” Bz'rcoll v. Miami-Daa’e Cly., 480 F.3d 1072, 1083 (11th Cir.2007).
The standard for claims under § 504 of the RA is the same as those brought under
the ADA. See Sz'lva v. Baptz`st Health South Floria’a, Inc., 856 F.3d 824, 830 (l lth
Cir. 2017) (“ADA and RA claims are governed by the same substantive standard
of liability”) (citing Cash v. Smith, 231 F.3d 1301, 1305 (1 lth Cir. 2000)). Title ll
of the ADA applies to state prisoners. See Pennsylvam`a Dep ’t of Corr. v. Yeskey,
524 U.S. 206, 212 (1998).
Under the ADA, a “qualified individual with a disability” is an

individual with a disability who, with or without reasonable

modifications to rules, policies, or practices, the removal of

architectural, communication, or transportation barriers, or the

provision of auxiliary aids and services, meets the essential

eligibility requirements for the receipt of services or the

participation in programs or activities provided by a public

entity.
42 U.S.C. § 12131(2). The ADA defines a disability as: “(A) a physical or mental
impairment that substantially limits one or more of the major life activities of [an]
individual; (B) a record of such an impairment; or (C) being regarded as having
such an impairment . . .” 42 U.S.C. § 12102(1). “Major life activities include, but
are not limited to, caring for oneself, performing manual tasks, seeing, hearing,

eating, sleeping, walking, standing, lifting, bending, speaking, breathing, leaming,

reading, concentrating, thinking, communicating, and working.” Ia’. However, a

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“physical impairment, standing alone . . . is not necessarily a disability as
contemplated by the ADA.” Gora’on v. E.L. Hamm & Assoc., Inc., 100 F.3d 907,
911 (11th Cir.l996).
1. APARO DID NOT HAVE A DISABILTIY BECAUSE OF HIS OWR

The undisputed facts and evidence in this case establish that Aparo was not
disabled and did not have a disability because of his OWR, nor was he regarded as
has having a disability because of his OWR by employees of FDC. The
undisputed facts also show that Aparo was not substantially limited from engaging
in any maj or life activity. To the contrary, the medical records are replete with
evidence showing that Aparo was very active throughout his 2009-2010 incarcera-
tion, i.e., his work on the Public Work Squad at Jefferson Cl for months, his work
at the BCWC (albeit brief), and the fact that he played basketball regularly_up to
and including just days before he died. There is also no evidence that Aparo ever
requested to be taken-off the Public Work Squad at Jefferson CI, or asked not to be
assigned to the BCWC in June 2010.

The only time a decision was made related to his OWR was on June 23,
2010 when ARNP Lemon had Aparo transferred from the BCWC to Franklin Cl
after he stuck his finger which caused profuse bleeding; however her decision to

transfer him was based on the distance between the two facilities (30 miles), and

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the fact that there were no medical personnel at BCWC--not because of his OWR.
See Exhibit 5, at 147-148. Also noteworthy is the fact that on the Health Services
Profile ARNP Lemon completed on June 23, 2010 for the transfer, she wrote that it
was, “Ok for him to work elsewhere - he likj to work! !”). ]cl, at 00023
(emphasis original).

Aparo’s medical records show that he had a Medical Grade of “l\/I: 1” (the
best or highest level) throughout his 2009-2010 FDC incarceration (except for an
initial grade of “M:2” assigned at RMC which was then changed to “M:l” on
December 9, 2009 shortly after arriving at Jefferson Cl). See Composite Exhibit 1,
at 00030; 00025. Aparo’s work grade during his 2009-2010 incarceration was “W-
2” which was based on the issuance passes during intake (i.e., “shaving pass”). Ia’,
at 00010, 00029; see e.g., Exhibit 5, at 149-150, 158-159.

These undisputed facts and evidence show that Aparo did not have a
disability and was not disabled because of his OWR, and FDC is entitled to
summary judgment on Plaintiff s Title ll ADA/RA claim on this ground alone.

2. APARO NEVER REQUESTED AN ACCOMMODATION FOR HIS
OWR

The undisputed evidence establishes that Aparo never submitted a request
for an accommodation during his 2009-2010 FDC incarceration based on his OWR

(or for any other medical or physical condition).

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ln Gaston v. Bellingrath Gardens & Home, lnc., 167 F.3d 1361 (l 1th
Cir.1999), the Court held that a “plaintiff cannot establish a claim under the [Rehab
Act] alleging that the defendant discriminated against him by failing to provide a
reasonable accommodation unless he demanded such an accommodation.” ]d, at
1363 (emphasis added) (citing Wood v. President and Trustees of Sprz`ng Hz`ll
College in the City ofMol)ile, 978 F.2d 12 14, 1222 (11th Cir.l992); see U.S. v,
Hialeah Hoas. Auth., 418 Fed.Appx. 872, 876_(11th Cir.2011) (stating that “[t]his
Court has held that under the [RA] and the ADA, 'the duty to provide a reasonable
accommodation is not triggered unless a specific demand for an accommodation
has been made‘ and that [d]efendants must have...the ability to conduct a
meaningful review of the requested accommodation”); see also Holly v. Claz'rson
Industries, 492 F.3d 1247 n. 14 (1 1th Cir.2007); Schwarz v. The Villages Charz‘er
School, 165 F.Supp.3d 1153, 1213 (M.D. Fla. 2016); Masgrove v. Toln Vilsack,
173 F.Supp.3d 1337, 1346-47 (M.D. Ga.2016) (and cases cited therein).

Therefore, FDC is entitled to summary judgment on Plaintiff’s Title ll
ADA/RA claim based on Plaintiff’s failure to request an accommodation during

his 2009-2010 FDC incarceration

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3. PLAINTIFF WAS NEVER DENIED MEDICAL CARE OR ACCESS
TO MEDICAL CARE DURING HIS 2009-2010 FDC
INCARCERATION
The undisputed facts and evidence outlined above demonstrate that Plaintiff

was never denied medical care, or access to medical care by FDC employees,
including the individual Defendants in this case, because of his OWR.

“To prevail on a claim for compensatory damages under either the RA or the
ADA, a plaintiff must show that a defendant violated his rights under the statutes
and did so with discriminatory intent.” McCullum v. Orlando Regional Healthcare
System, Inc., 768 F.3d 1135, 1146-47 (11th Cir.2014); see Greenberg v. BellSouth
Telecomms., 498 F.3d 1258, 1263 (11th Cir. 2007). Discriminatory intent must be
proved by the plaintiff “showing that a defendant was deliberately indifferent to his
statutory rights.” Id, at 1147 (citing Liese v. Indz`an River Cnly Hosp. Dist., 701
F.3d 334, 342 (1 1th Cir.2012). The Court in McCullum emphasized that showing
discriminatory intent is an “exacting standard,” Doe v. Sch. Bd. of Broward Cnty.,
604 F.3d 1248, 1259 (11th Cir.2010), which requires showing more than gross
negligence, Liese, 701 F.3d at 344.” Id; see Farmer v. Brennan, 511 U.S. 825, 837
(1994)

A showing of deliberate indifference for purposes of Plaintiff’ s Title ll

ADA/RA claim requires that Plaintiff prove that FDC, through its employees, had:

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“(1) subjective knowledge of a risk of serious harm; (2) disregard of that risk; (3)
by conduct that is more than [gross] negligence.” Bozeman v. Orum, 422 F.3d
1265, 1272 (11th Cir.2005) (per curiam) (abrogated on other grounds, Kingsley v
Hendrickson, 576 U.S. __, 135 S.Ct. 2466, 2473 (2015)). A Title ll ADA/RA
claim has to do with access to services--here medical services--not the quality of
care provided. See Ganstine v. Buss, 2011 WL 6780956, *4 (N.D. Fla.2011),
affirmed on appeal, Ganstz`ne v. Sec ’y, Florida Department of Corrections, 502
F.3d 905 (11th Cir. 2012) (“A denial of medical treatment, without more, is not an
ADA violation.”); see also Owens 602 Fed.Appx., at 479 (inmate-plaintiff’ s
motion to file proposed amended complaint denied on the grounds that it showed
he “had access to medical services and used those services . . .”). Moreover, “[T]o
establish deliberate indifference, a plaintiff must show that the defendant ‘knew
that harm to a federally protected right was substantially likely’ and ‘failed to act
on that likelihood.”’ McCullum, 768 F.3d at 1147; see Boynton v. City of
Tallahassee, 650 Fed.Appx. 654, 658 (11th Cir.2016) (citing McCullum, supra).
ln the instant action, the evidence is undisputed that FDC security
employees, including the security Defendants in this case, had no knowledge of
Aparo’s OWR, and no knowledge of his past or recent medical history when he

was placed in confinement on September 18, 2010 at Franklin Cl. Therefore, any

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actions taken or not taken by them with respect to Aparo, including the use of
chemical agents on September 19, 2010 could not have been taken because of his
OWR of which they had no knowledge Further, while the security Defendants
deny that Aparo ever declared a medical emergency on September 19, 201 O, even
assuming that he had, any failure or refusal by the security Defendants to contact
medical personnel, that failure or refusal was not because of his OWR.

The undisputed facts and evidence also establish that the individual medical
Defendants were not deliberately indifferent to Aparo’s medical needs because of
his OWR. The medical records show that Aparo had access to medical at all times
during his incarceration in 2009-2010 for the bleeding incidents caused by cuts or
pricks to his fingers associated with the telangiectasias, and the anemia for which
he was given iron ln Owens v. Florida Dept. of Corrections, 602 Fed.Appx. 475
(11th Cir. 2015), a case involving an inmate’s claim under Title ll of the ADA, the
Court found that the claim was “not plausible” because his complaint “did not
demonstrate that [he] was excluded from or denied the benefits of FDC services
because ofhis disability.” Id, at 478-79 (citing Bz`rcoll v. Miami-Dade Cnty., 480

F.3d 1072, 1083 (l 1th Cir.2007) (emphasis added)).]'

“ Even assuming that not sending Aparo to the hospital on September 18, 2010 is
deemed to be a denial of medical care or access to medical care, that decision was
not made because of his OWR.

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Therefore, FDC is entitled to summary judgment on Plaintiff’s Title ll
ADA/RA claim on the grounds that the undisputed facts and evidence show that
the alleged actions or omissions of the individual Defendants, attributable to FDC
for purposes of her Title ll ADA/RA claim, were not because of Aparo’s OWR.

4. APARO WAS NOT SUBSTANTIALLY LIMITED IN ANY MAJOR
LIFE ACTIVITIES

There is no evidence that Aparo was unable to engage in a major life activity
because of his OWR, and no evidence that he had a medical or physical condition
that was so apparent or obvious (i.e., a per se disability) that FDC knew or should
have known that he was disabled and should have been given an accommodation
See Downing v. Osceola Counly Board of Counly Com)nl'ssz'oners, 2017 WL
5495138 *3 (M.D. Fla. 2017) (citing Shotz v. Cate, 256 F.3d 1077, 1079 (11th
Cir.2001) (other citation omitted). The fact that a person has a particular physical
or medical condition is not, by itself, the same as having a disability. See Gordon
v. E.L. Hamm & Assoc., Inc., supra, 100 F.3d 907 at 911 (a “physical impairment,
standing alone . . . is not necessarily a disability as contemplated by the ADA.”);
see also Hz`lburn v. Murata, 181 F.3d 1220, 1227 (11th Cir.l999) (“the existence of
a physical ailment, such as heart disease, without more does not constitute a
disability . . . [and] plaintiff had not demonstrated that her heart disease had

substantially limited any major life activities.”).

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There is no factual basis to support a claim that FDC perceived him as
having a disability or as being disabled, and no evidence to support a finding or
conclusion that Aparo was “substantially limited” in any life activity (“major” or
otherwise) during his 2009-2010 FDC incarceration To the contrary, the
overwhelming and undisputed evidence shows that Aparo led a physically active
life during his incarceration which included working on a Public Work Squad and
at a work camp (i.e., BCWC), and playing basketball regularly. See Holton v. First
Coast Service Optl`ons, lnc., 2017 WL 3446880 **2-3 (l 1th Cir.2017). ARNP
Lemon saw Aparo and provided care to him on multiple occasions and has testified
that he was not substantially limited in any major life activities See Exhibit 5, at
100, 103; Vol. 2, 150, 156-57.

Therefore, FDC is entitled to summary judgment on Plaintiff s ADA/RA
claim based on the undisputed facts showing that Aparo was not substantially
limited in any major life activity.

Wherefore, FDC is entitled to summary judgment on Plaintiff s Title ll
ADA/Rehab claim on the grounds set forth above which establish that Aparo was

not disabled or have a disability because ofhis OWR.

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C. PLAINTIFF’S TITLE II ADA/RA CLAIM AGAINST FDC IS
BARRED AS UNTIMELY UNDER THE APPLICABLE STATUTE
OF LIMITATIONS

1. SECTION 95.11(10), FLORIDA STATUTES DOES NOT APPLY TO
PLAINTIFF’S TITLLE II ADA/RA CLAIM AGAINST FDC

Plaintiff relies on section § 95.11(10), Florida Statutes, as the statute of
limitations applicable to her ADA/Rehab Act claim against FDC. This statute
states in pertinent part that

an action for wrongful death seeking damages authorized
under section 768.21 brought against a natural person for
an intentional tort resulting in death from acts described in
section 782.04 or section 782.07 may be commenced at any
time. This subsection shall not be construed to require an
arrest, the filing of formal criminal charges, or a conviction
for a violation of section 782.04 or section 782.07 as a condi-
tion for filing a civil action
See also Complaint, 1111 1, 4 and 11. Plaintiff’ s reliance on § 95.11(10), Florida

Statutes is misplaced for several reasons.

(1) PLAINTIFF’S CLAIM AGAINST FDC IS NOT ONE FOR
“WRONGFUL DEATH”

The plain and unambiguous language of § 95.11(10) states that it applies to
an action for “wrongful death” brought pursuant to section 768.21, Florida

Statutes. Plaintiff’ s claim against FDC is not one for “wrongldl death” but for

violations of Title ll of the ADA and the Rehab Act.

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Plaintiff’ s Complaint was filed on September 19, 2016, or six years after
Aparo’s death, and the applicable statute of limitations for claims brought under
Title ll of the ADA and Rehab Act is four years based on Florida’s four-year
personal injury statute of limitations See Sz`lva v. Baptz`st Heath So. Fla., Inc., 856
F.3d 824, 841 (11th Cir. 2017).

Thus, because Plaintiff"s claim against FDC is brought pursuant to the
ADA/RA, and is not a “wrongful deat ” claim, her claim against FDC is barred as
untimely under the applicable four-year statute of limitation

Therefore, FDC is entitled to summary judgment on Plaintiff’ s Title ll
ADA/RA claim on this ground alone.

(2) FDC IS NOT A “NATURAL PERSON”

The statute expressly applies to actions brought against a “natural person,”
and as FDFC is a Florida state agency, this statute does not apply. The term
“natural person” in § 95.11(10) is not defined however the term is generally
understood to mean a “human being.” See Black’s Law Dictionary (6th Ed. 1996).
ln Florida jurisprudence, the term “natural person” is construed as distinguishable
froln non-persons such as corporations or other business entities ln Corporate
Express O/j‘ice Products v. th`llz`ps, 847 So.2d 406 (Fla.2003), the Court held that,

“The corporate owner/employee, a natural person, is distinct from the corporation

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itself, a legally different entity with different rights and responsibilities due to its
different legal status” Id, at 411 (citing Cedrz'c Kushner Promotz'ons Ltd. v. King,
533 U.S. 158, 163 (2001) (also citing Arn. States Ins. Co. v. Kelley, 446 So.2d
1085, 1086 (Fla. 4th DCA 1984) (“The general rule is that corporations are legal
entities separate and distinct from the persons comprising them.”); see Florida
Carry, Inc. v. University ofFlorida, 180 So.3d 137, 151 (Fla. lst DCA 2015)
(citing section 20.055 (1)(b), Fla. Stat., which defines “‘Entities contracting with
the state to mean ‘for-profit and not-for-profit organizations or businesses that have
a legal existence, such as corporations or partnership, as opposed to natural
persons. . . ”’) (emphasis added).

Florida courts apply the “ordinary meaning” test and analysis when a term is
not defined in the statute. See Searcy, Denney, Scarola, Barnhart & Shipley v.
State ofFlorz`da, 209 So.3d 1181, 1189 (Fla.2017) (“The statute’s plain and
ordinary meaning must control, unless this leads to an unreasonable result or a
result clearly contrary to legislative intent.”); see also Natz`onal Council on
Compensation Insurance v. Fee, 219 So.3d 172, 178 (Fla. lst DCA 2017).

There is nothing in section 95.11(10) which indicates or suggests that the
term “natural person” is intended to mean anything other than an “individual” or a

“human being”_particularly when the offending acts at issue in section 95.11(10)

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are the criminal acts of murder and manslaughter referenced in the statute (i.e.,
sections 782.04 and 782.07), which acts can only be committed by individuals or
“natural persons,” and not by corporate entities or state agencies ln Black v. State
of Florida, 2009 WL 1605410 (N.D. Fla.2009), the court rejected petitioner’s
attempt to change his identity or status from “a human, natural person to a legal
entity” citing Black’s Law Dictionary (8th Ed.2004) which defines a “person” as a
“‘human being, also known as a ‘natural person.”’. Id, at *3. The Court in Black
also cited § 1.01(3), Florida Statutes which defines a “‘person. . .as ‘[a] human
being,’ also known as a ‘natural person.”’ Id, n. 6.

Thus, FDC is not a “natural person” for purposes of section 95.11(10) and
this statute has no application to FDC in this case, and Plaintiff’ s Title ll FDA/RA
claim against FDC is time-barred under the applicable four-year statute of
limitations12

Therefore, FDC is entitled to summary judgment on Plaintiff s Title ll
ADA/RA claim on this ground alone.

(3) APARO WAS NOT A “DISABLED ADULT”

As above, section 95.11(10) cites to sections 782.04 and 782.07 which

identify the “acts” causing death for which actions may be “commenced at any

'2 There are no reported Florida state cases or federal cases citing or construing the

current and applicable version of section 95.11(10), Florida Statutes.
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time.” Section 782.04(3) states that, “When a human being is killed during the
perpetration of, or during the attempt to perpetrate, any . . . (i) Aggravated abuse of
an elderly person or disabled adult ...” Id, subsection 4(i) (emphasis added).
Similarly, section 782.07(2) states in pertinent part that, “A person who causes the
death of any elderly person or disabled adult by culpable negligence under
s 825. 102(3) commits aggravated manslaughter of an elderly person or disabled
adult, a felony of the first degree, punishable as provided in s 775.082, s
775.083.” (Emphasis added).
Plaintiff attempts to appropriate and apply section 95.11(10) here based on

an inference or presumption that the term “disabled adult” is synonymous with a
disabled person under the ADA/RA. The term “disabled adult” is not defined in
either sections 782.04 or 782.07, however section 782.07 references section
825.102(3), Florida Statutes, and in section 825.101(3) of the same chapter (under
“Definitions”) it defines a “disabled adult” as a

a person 18 years of age or older who suffers from a

condition of physical or mental incapacitation due to

a developmental disability, organic brain damage, or

mental illness, or who has one or more physical or

mental limitations that restrict the person's ability to

perform the normal activities of daily living.

The undersigned could find no reported cases in Florida, or Florida federal

cases including any opinions from the 11th Circuit, where the term “disabled adult”

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is found in conjunction with the terms “Americans with Disabilities Act” or the
“Rehabilitation Act”. Nor do the Florida Statutes contain any references to the
term “disabled adult” in the context of claims brought under the ADA or Rehab
Act. From this absence of legal support or authority, there are no grounds
warranting a conclusion that the Florida Legislature intended the term “disabled
adult” in sections 782.04 and 782.07 to be construed in light of, or to borrow from,
the ADA or the Rehab Act. Rather, the term “disabled adult” is a singular Florida
statutory creation with no relationship to the ADA or the Rehab Act, and therefore
has no application to the instant action

Therefore, section 95.11(10) does not apply to the instant action, and
Plaintiff’ s Title ll ADA/Rehab claim against FDC is barred as untimely under the
applicable four-year statute of limitations

D. PLAINTIFF’S ADA/RA CLAIM AGAINST FDC IS BARRED AS

UNTIMELY UNDER THE APPLICABLE FOUR-YEAR STATUTE

OF LIMITATIONS

The applicable statute of limitations for an ADA/RA claim is governed by
Florida law as set forth in § 95.11(3)(p) (four years), Florida Statutes, City of
Hz`aleah v. Rojas, 311 F.3d 1096, 1103 n.2 (11th Cir. 2002), however, the date an

action accrues is a question of federal law. See Mullinax v. McElhenney, 817 F.2d.

711, 716 (1 lth Cir.l987).

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There is no dispute that the date of “injury” in this case is September 19,
2010, the date Aparo died, and Plaintiff acknowledges that she learned of his death
several days later while searching the FDC website for his release date which she
believed was September 23, 2010. Plaintiff also admits that she called FDC and
was told by someone that he died of “natural causes”. ln her answers to
interrogatories Plaintiff acknowledges receiving a copy of the Death Certificate
from Tom Aparo, but does not explain or describe what additional actions or steps
she took thereafter, if any, to obtain information or records regarding the
circumstances of Aparo’s death.13

As above, FDLE’s records could have been obtained through a Public
Records request from July 12, 2012 (when the investigation was initially closed)
through September 20, 2013 (when it was reopened), however there is no evidence
that she or her attorney submitted such requests

Plaintiff attests that she retained “attorneys” after reading an article in the
Miami Herald but gives no date as to when this happened. lt is known that her
current attorney sent a notice of claim letter to FDC and the Department of

Financial Services dated September 2, 2014 in which FDC and forty-seven

13 By comparison, Tom Aparo contacted SA DeVaney at FDLE, and Dr. Flannagan
at the l\/ledical Examiners’ Office, seeking information about his son’s death;
however there is no evidence that Plaintiff contacted either FDLE or the Medical

Examiner’s Office.
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individual FDC current and former employees were identified as potential
defendants See Exhibit 25. ln this same notice letter, Plaintiff’ s counsel stated
that his intent to bring a section 1983 claims, and Florida medical malpractice
claims against individuals, and a negligence claim against FDC. Id. This notice of
claim letter also informed FDC and DFS that a complaint would be filed on or
before September 18, 2014, however Plaintiff did not file her original complaint
until September 19, 2016. Had Plaintiffs complaint been filed on September 18,
2014, all of her claims would have been timely except for the medical malpractice
claim which has a two-year limitations’ period. See section 95.11(4), Florida

Statutes

ln United States v. Kubrick, 444 U.S. 111 (1979), the Supreme Court

explained that

Statutes of limitations which ‘are found and approved in all
systems of enlightened jurisprudence.’ Wood v. Carpenter,

101 U.S. 135, 139 (1879), represent a pervasive legislative
judgment that it is unjust to fail to put the adversary on notice
to defend with a specified period of time and that ‘the right to
be free from stale claims in time comes to prevail over the

right to prosecute them.’ Railroad Telegraphers v. Railway
Express Agency, 321 U.S. 342, 359 (1944). These enactments
are statutes of repose; and although affording plaintiffs what
the legislature deems a reasonable time to present their claims,
they protect defendants and the courts from having to deal with
cases in which the search for truth may be seriously impaired by
the loss of evidence, whether by death or disappearance of wit-
nesses, fading memories, disappearance of documents or other-
wise. United States v. Marion, 404 U.S 307, 322 n. 14 (1971).

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Kubrick, 444 U.S., at 117. Kubrick involved a claim brought under the Federal
Tort Claims Act (FTCA) which requires that claims against the United States be
“presented in writing to the appropriate federal agency ‘within two years after such
claim accrues.”’ Id, at 113 (citing 28 U.S.C. § 2401(b)). The issue before the
Court was “whether the claim ‘accrues’ within the meaning of the Act when the
plaintiff knows both the existence and the cause of his injury or at a later time
when he also knows that the acts inflicting the injury may constitute medical
malpractice.” Id. The Court rejected the Court of Appeals’ reasoning that
plaintiff’s claim, arising from the improper use of an antibiotic in April 1969, did
not accrue until his doctor informed him of it in June 1971. Id, at 121-22. The
Court acknowledged that the accrual date can come after the date of injury, but
held that when a plaintiff is “in possession of the critical facts that he has been hurt
and who has inflicted the injury...[h]e is no longer at the mercy of the latter . . .
[and] there are others who can tell him if he has been wronged, and he need only
ask.” Id., at 122; see Mullinax, 817 F.2d at 716 (the statute of limitations in section
1983 cases “does not begin to run until facts which would support a cause of action

are apparent or should be apparent to a person with a reasonably prudent regard for

his rights.”); see also Branch v. Atwater, 2014 WL 11412879 *2 (N.D.Fla.2014).

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Here, Plaintiff admits that she knew that the date Aparo had died, and while
she may not have known the cause of his death or who may have been involved,
she had sufficient information to prompt her to make further inquiry, or retain an
attorney to act on her behalf. The Court in Kubrick held that a plaintiff with
knowledge of an injury, even if he or she does not know the why of that injury_
“need only have made inquiry among doctors with average training and experience
in such matters to have discovered that [plaintiff] probably had a good cause of
action.” Kubrick, 444 U.S. at 123. lt was not “apparent” that the plaintiff in
Kubrick “ever made an inquiry,” and there is no evidence in the instant case that
Plaintiff made further inquiry after she learned of Aparo’s death. Plaintiff also
acknowledges that Tom Aparo provided her with a copy of the Death Certificate,
however unlike Mr. Aparo, there is no evidence that she ever attempted to contact
FDLE or the Medical Examiner’s Office to obtain additional information Had
Plaintiff taken these steps she would have learned at a minimum that FDLE was
conducting a criminal investigation, which by itself was sufficient to question
whether Aparo had died of “natural causes” (especially given that he was 27-years
old at the time of his death). This information was also sufficient to put her on

notice of a potential claim against either FDC or individual FDC employees And

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even if she did not know what to do, she had a duty to ask someone who would
know, including an attomey. Id, at 122.

lt is clear from her attomey’s notice of claim letter that he knew the
complaint had to be filed on or before September 19, 2014 for the section 1983,
medical malpractice and negligence claims to be timely (and the future Title
ADA/RA claim first asserted in Plaintiff s Third Amended Complaint). Plaintiff
also could have obtained information and records from FDC through a Public
Records Request asking for: medical records, roster sheets (showing the employees
on-duty for the days leading up to and including September 19, 2010), and other
administrative records Clearly, Plaintiff s attorney was able to obtain these types
of records before his letter of September 2, 2014 in order to identify forty-seven
individuals, and inform FDC and DFS as to the types of claims to be brought. And
as above, Plaintiff or her attorneys also could also have obtained FDLE records
after its investigation was initially closed on or about July 12, 2012 and until it was
reopened on September 20, 2013 (a period of approximately fourteen months).

Plaintiff claims that FDC, by and through its employees, failed to
accommodate Aparo, and under the four-year statute of limitations for claims
brought pursuant to Title ll of ADA/RA, her accrual date was September 19, 2010

(the date of his death). See Horsely v. Univ. ofAla., 564 Fed.Appx. 1006, 1008

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(11th Cir.2014) (accrual date commenced when plaintiff knew the injury was
caused by a failure to accommodate) (citing Chappell v. Rich, 340 F.3d 1279, 1283
(11th Cir.2003)). Based on this accrual date, Plaintiff s Complaint had to be filed
on or before September 19, 2014 however it was not filed until September 19,
2016 well outside the four-year statute of limitations
ln Diaz v. United States, 165 F.3d 1337 (11th Cir.1999), an FTCA claim

involving the suicide of a prisoner, the Court citing Kubrick, noted that a claim
may accrue at a date after the injury “to protect plaintiffs who are blamelessly
unaware of their claim because the injury has not yet manifested itself or because
the facts establishing a causal link between the injury and the medical malpractice
are in the control of the tortfeasor or are otherwise not evident” Id, at 1339 (citing
Kubrick, at 122). The Court in Diaz continued holding that

Under this rule, the plaintiff need not know that she has a

legally cognizable claim for the action to accrue, and may

not bury her head in the sand once she is put on notice that

the government may have caused an injury. She will not

automatically lose her claim, however, merely because the

circumstances surrounding the injury make its existence of

government cause not reasonably knowable.
Id. The Court in Diaz concluded holding that a “wrongful death case accrues when

the plaintiff knows, or exercising reasonable diligence should know, both of the

decedent’s death and its causal connection with the government.” Id, at 1340

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(emphasis supplied); see also Gabelli v. S.E.C., __ U.S. _, 133 S.Ct. 1216,
1220 (2013) (a cause of action accrues “when with reasonable diligence, the
plaintiff has or should have discovered the critical facts of both [the] injury and its
cause.”).14

Here, even if Plaintiff could not have known all the persons or circumstances
involved in Aparo’s death, she knew that he died on September 19, 2010, that he
was an inmate at the time, knew that he was 27 years old, and through the exercise
of reasonable diligence, including retention of attorney, could have learned that

FDLE was conducting a criminal investigation into Aparo’s death, obtained FDC

 

'4 An argument can be made that the accrual date in this case precedes Aparo’s
death on September 19, 2010. Plaintiff"s ADA/RA claim against FDC is based on
the failure or refusal to accommodate Aparo because of his OWR by denying him
medical care, or access thereto during his 2009-2010 FDC incarceration lf so,
then the acts constituting a failure to accommodate, and therefore the accrual date,
began in November, 2009, and on each date thereafter up to and including
September 19, 2010. ln Walton v. Florida Department of Corrections, 2018 WL
19393520 (M.D. Fla. 2018 l\/larch 20, 2018), a case involving injuries to an inmate
on one date followed by his death from those injuries on a later date, and the Court
ruled that the accrual date was the date the decedent inmate suffered the injury, and
not the date on which he later died. ]d, at *5. The Court found that because the
inmate was aware of the injury, and the personal representative who was suing in a
“purely representative capacity. .. stepped into his shoes for all purposes” Id, at *5
(quoting Lawson v. Oklnulgee Cty. Crim. Justice Auth., 2018 WL 1 104533 *4 (10th
Cir., Feb. 28, 2018)). Thus, the accrual date or range for Plaintiffs ADA/RA
claim would begin to run in November 2009 making her complaint due to have
been filed in November 2013 under the four-year statute of limitations As a
practical matter, it is immaterial whether the accrual date is sometime in November
2009 or any date until September 19, 2010 given Plaintiff’s claim against FDC
would be barred by the four-year statute of limitations on any date during this

time-frame.
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records, all of which would have been sufficient to put her on notice of a potential
claim, and the date by which a complaint had to be filed.
DELAYED DISCOVERY

Plaintiff has not expressly alleged or asserted that actions by FDC delayed
her ability to learn of the facts and circumstances of Aparo’s death, but she has
alleged generally the commission of “acts causing or concealing the intentional
death of [Aparo].” See Complaint, paragraph 2. FDC will address this issue out of
an abundance of caution and note that: (1) there is no evidence that FDC withheld
or refused to disclose information or records to her or her attorney; (2) there is no
evidence that FDC or its employees ever gave false information to Plaintiff
regarding the circumstances of Aparo’s death; and (3) it was FDLE, and not FDC,
who conducted the criminal investigation of Aparo’s death during two separate
phases Additionally, under Florida law “only specific enumerated causes of
action are subject to a discovery accrual date, as opposed to a strict time period
beginning on the date of an identified act or omission.” Walton, supra, at*7 (citing
section § 95.11(4, 7), Florida Statutes); (also citing Davis v. Monahan, 832 So.2d
708, 710-11 (Fla. 2002).'5 Plaintiff’s ADA/RA claim is not one ofthe enumerated

actions

 

'5 Equitable tolling is an “extraordinary remedy available only when unavoidable

circumstances beyond plaintiffl‘s] control delay filing.” McGinley v. Mauriello,
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Therefore, Plaintiff’s Title ll ADA/RA claim against FDC is barred under
the applicable four-year statute of limitations entitling FDC to summary judgment
III. CONCLUSION

FDC is entitled to summary judgment on Plaintiff’ s ADA/RA claim on the
grounds that Plaintiff did not have a disability, he never claimed to have a
disability, he was not substantially limited in any maj or life activities, he never
requested an accommodation, that section 95.11(10), Florida Statutes does not
apply to Plaintiff’ s ADA/RA claim against FDC, and therefore, her claim is barred
under the applicable four-year statute of limitations

WHEREFORE, FDC’s motion for summary judgment should be granted for

all the foregoing reasons

 

682 Fed.Appx. 868 n. 5 (11th Cir.2017) (citing Downs v. McNeil, 520 F.3d 1311,
1318-19 (l 1th Cir.2008). ln Rowland v. Conyers, 2013 WL 794860 *3 (N.D.Fla.
2013), this Court observed that the Florida Supreme Court in Maschules v.
Department of Administration, 523 So.2d 1132 (1988) cited a ground for equitable
tolling not listed in § 95.051, Florida Statutes, but also noted that the plaintiff in
“had ample time to file [his] lawsuit” within the applicable statute of limitations
As in Rowland, Plaintiff had sufficient time to file her Complaint within the
applicable four-year statute of limitations

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CERTIFICATE OF COMPLIANCE

Pursuant to Rule 7.1(F) of the N.D. Fla. Loc. R., l certify that this
memorandum complies with the length limitation set forth in Rule 7.1(F) because
it contains l 1,3 62 words, as counted by Microsoft Word, excluding the items that
may be excluded under Rule 7.1(F), the font used in this motion is Times New

Roman 14-point font.

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CERTIFICATE OF SERVICE

l HEREBY CERTIFY that a copy of the above and foregoing has been

furnished via electronic mail on this 3rd day of July, 2018, to:

 

 

 

 

 

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